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                                                                                                  6
                       AJE 2018 Trust 90%
                                                             Carol Jones 10%
                    (Alex Jones is Sole Trustee)




                                              PJLR LLC 80%




      FSS Notes to                          PQPR Holdings
     PQPR Holdings                                                      David & Carol Jones 20%
                                             Limited LLC
       $55 Million




      Free Speech
                                             Alex Jones 100%
      Systems LLC




                                        Litigation Settlement Trust

                                                      100%




                                                                      Prison Planet
               InfoW, LLC                          IWHealth, LLC
                                                                         TV, LLC




                                INFOW EX. 06 - 001
